
USCA1 Opinion

	













        October 11, 1996        [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________


        No. 95-2267

                                   NANCY TREMBLAY,

                                Plaintiff, Appellant,

                                          v.

               LOUIS SULLIVAN, SECRETARY OF HEALTH AND HUMAN SERVICES,

                                 Defendant, Appellee.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                       [Hon. Mark L. Wolf, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Cyr and Stahl, Circuit Judges.
                                           ______________

                                 ____________________

            Nancy Tremblay on brief pro se.
            ______________
            Donald  K. Stern,  United States  Attorney and  Thomas  D. Ramsey,
            ________________                                _________________
        Assistant Regional Counsel, on brief for appellee.


                                 ____________________

                                   October 10, 1996
                                 ____________________



















                 Per  Curiam.        Claimant Nancy  Tremblay  appeals  a
                 ___________

            district court order upholding a decision of the Commissioner

            of  Social   Security  that  reduced   her  Social   Security

            disability  benefits  to  zero  due  to  her  receipt  of   a

            disability pension  under the Civil Service Retirement System

            (CSRS).  We affirm.

                                          I.

            Undisputed Facts
            ________________

                 The relevant facts are as follows.  Claimant is a former

            accountant for the U.S. Army Corps  of Engineers who suddenly

            went blind at the age of 27 due to a rare hereditary disorder

            (Leber's  optic  neuropathy).   This  condition  rendered her

            disabled  within the  meaning of  42 U.S.C.    423.  Prior to

            becoming disabled, claimant had  worked in the private sector

            between  1977 and 1981, earning wages  that were "covered" by

            Social  Security.  See Das  v. Secretary of  Health and Human
                               ___ ___     ______________________________

            Services,  17 F.3d  1250, 1253  &amp; n.  2 (9th  Cir. 1994)("For
            ________

            purposes of  the Social  Security Act,  wages  upon which  an

            individual pays social security taxes are 'covered' wages and

            those  upon which an  individual pays no  social security tax

            are  'noncovered.'" (citation  omitted)).   Between 1983  and

            1987,  claimant  worked for  the federal  government, earning

            wages  that were  not  covered by  Social  Security but  that

            rendered her  eligible to receive a  disability pension under

            the CSRS after she became blind.



                                         -2-















                 Claimant applied for Social Security disability benefits

            (SSDI) and for disability retirement benefits under the CSRS.

            She began receiving benefits under both programs in late 1988

            and early 1989.1  Toward the end of 1989, the Social Security
                           1

            Administration  (SSA)  notified  claimant  that   her  Social

            Security  benefits  should  have  been withheld  due  to  her

            receipt of  the CSRS  pension.   The SSA's determination  was

            based on the offset provision in 42 U.S.C.   424a.

            The Offset Provision
            ____________________

                 Congress enacted   424a  in 1965 in response  to renewed

            concern  that many disabled workers were receiving disability

            payments  in excess  of their  working wages  as a  result of

            their dual eligibility for  benefits under the federal Social

            Security  and  state worker's compensation programs.   It was

            believed  that,  inter  alia,  this   situation  decreased  a
                             _____  ____

            worker's incentive to return to work.  Consequently, Congress

            enacted   424a, "which, by  limiting total state and  federal

            benefits to  80% of  the employee's average  current earnings

            prior to disability, reduced  the duplication inherent in the

            programs and  at  the  same  time  allowed  a  supplement  to

            workmen's   compensation  when   the   state  payments   were

            inadequate."    Richardson  v.   Belcher,  404  U.S.  78,  83
                            __________       _______

                                
            ____________________

               1Claimant's CSRS benefits were $919 per month.  Claimant's
               1
            Social  Security benefits  totalled  approximately  $540  per
            month.  This figure  included claimant's monthly SSDI benefit
            and  an  additional sum  in  child's  benefits that  claimant
            received on behalf of her daughter.

                                         -3-















            (1971)(holding     424a  does  not violate  the  Due  Process

            Clause).   

                 This court  and others  have indicated  in dicta  that  

            424a generally allows disabled workers to retain 80% of their

            pre-disability   income  or  earnings   before  their  Social

            Security benefits will be reduced under the offset provision.

            See,  e.g., Davidson v. Sullivan,  942 F.2d 90,  92 (1st Cir.
            ___   ____  ________    ________

            1991)(noting that  under   424a   total worker's compensation

            and social security benefits  may not exceed 80% of  worker's

            "predisability income");  Sciarotta v. Bowen,  837 F.2d  135,
                                      _________    _____

            140 (3d Cir.  1988)(noting that in enacting    424a, Congress

            "intended to 'limit[] total state and federal benefits to 80%

            of   the   employee's   average   earnings   prior   to   the

            disability'")(citation omitted);     Swain v.  Schweiker, 676
                                                 _____     _________

            F.2d  543,  544  (11th  Cir.),  cert.  denied,  459 U.S.  991
                                            _____  ______

            (1982)("[g]enerally, the  [   424a] offset  applies when  the

            total of  an individual's benefits  and worker's compensation

            exceeds 80%  of his  or her  pre-disability  earnings and  it

            reduces  the federal  benefits  by the  excess"); Freeman  v.
                                                              _______

            Harris,  625 F.2d 1303,  1306 (5th Cir.  1982)(similar).  But
            ______

            the statute does not mandate this result in every case.     

                 With certain exceptions immaterial to  the present case,

               424a  provides  that  in  any  given  month  in  which  an

            individual  under age 65 is entitled  to both Social Security

            disability benefits under  42 U.S.C.   423 and other periodic



                                         -4-















            disability   benefits,  e.g.,   those  paid   under  worker's
                                    ____

            compensation or under  any other  law or plan  of the  United

            States, the total Social Security disability benefits and any

            related    402 benefits based on that  individual's wages and

            self-employment income (e.g., child's benefits):
                                    ____

                      shall be reduced (but  not below zero) by
                      the amount by which the sum of -

                      (3)  such  total  ...  [Social  Security]
                      benefits under sections 423 and  402 ...,
                      and

                      (4) such periodic  benefits payable  (and
                      actually  paid)  ... under  such  laws or
                      plans,

                      exceed the higher of -

                      (5)   80   per   centum   of   ...   [the
                      individual's] "average current earnings",
                      or

                      (6)  the  total   of  such   individual's
                      [Social  Security]  disability  insurance
                      benefits under section 423 ... and of any
                      monthly insurance  benefits under section
                      402  ... prior  to  reduction under  this
                      section.

            Thus,     424a  requires  that  a  person's  Social  Security

            benefits be reduced  by the  amount by which  the sum of  his

            Social  Security and  other disability  benefits exceeds  the
                                                                      the

            higher  of: (a)  80%  of his  "average  current earnings"  as
            higher  of

            defined by   424a, or (b) his total Social Security benefits.

            The statute goes on to  define "average current earnings", in

            relevant part, as the largest of: 

                      (A) the average monthly wage ... used for
                      purposes    of    computing   ...    [the


                                         -5-















                      individual's  Social  Security]  benefits
                      under section 423..., 

                      (B) one sixtieth of the total of ... [the
                      individual's]  wages and  self-employment
                      income  ...  for  the   five  consecutive
                      calendar years after 1950, for which such
                      wages  and  self-employment  income  were
                      highest, or 

                      (C) one-twelfth of the  total of ... [the
                      individual's]  wages and  self-employment
                      income ... for the calendar year in which
                      he  had the highest such wages and income
                      during  the  period  consisting   of  the
                      calendar year in which he became disabled
                      ...  and the  five  years preceding  that
                      year.2
                           2

            See 42 U.S.C.   424a.
            ___

            Claimant's Case
            _______________

                 In applying the offset provision, the SSA determined the

            claimant's  "average current  earnings"  under the  "High  5"

            method  based on the wages  that she earned  during her first

            years  of  "covered"  employment, i.e.,  1977-1981.3   Eighty
                                                               3

            percent of her "average  current earnings," as so calculated,

            was  $307.20, an  amount substantially  less than  claimant's

            total  Social  Security   benefits.  When   the  latter   was

                                
            ____________________

               2The computation  method outlined  in subparagraph (B)  is
               2
            called  the   "High  5"   method,  while  that   outlined  in
            subparagraph (C) is called the "High 1" method.  Both methods
            compute  "average current  earnings"  without regard  to  the
            limitations  on the  maximum earnings  creditable for  Social
            Security  purposes specified  in 42  U.S.C.     409(a)(1) and
            411(b)(1).  


               3These wages  were much  lower than those  claimant earned
               3
            during  her  last years  of  "non-covered"  employment as  an
            accountant with the federal government.

                                         -6-















            subtracted  from the  sum of  claimant's Social  Security and

            CSRS benefits, as required by   424a(a)(3)-(6), the $919 CSRS

            benefit  was left as the amount to be "offset", or subtracted

            from,  claimant's total  Social Security benefits.   However,

            since claimant's  CSRS benefit  exceeded her Social  Security

            benefits,  and     424a prohibits  reducing  Social  Security

            benefits below zero, application of a $919 offset effectively

            reduced claimant's Social Security benefits to zero.         

             

                 Claimant disputed the  SSA's computations and  requested

            reconsideration.   The  SSA reaffirmed  its position  both on

            reconsideration   and  in   a  subsequent   decision   by  an

            administrative  law judge  (ALJ), who  found that  the offset

            provision had been properly applied.  The   Appeals   Council

            upheld  the  ALJ's  decision,  thus rendering  it  the  final

            decision of the Commissioner.   

                 Claimant  thereafter  commenced   this  proceeding   for

            judicial review,  arguing, inter alia, that  Congress did not
                                       _____ ____

            foresee her situation  when it  enacted   424a  and that  the

            SSA's  application of  the  offset provision  resulted in  an

            undue  hardship  on her.    Noting  that her  remaining  CSRS

            benefit fell substantially short of 80% of her pre-disability

            earnings,  claimant  maintained  that  the  SSA  should  have

            computed  her "average  current earnings"  based on  her non-

            covered federal earnings from  1983-1988, a method that would



                                         -7-















            leave her  Social Security  benefits intact.   Claimant urged

            the district court to follow a similar unpublished case which

            reinstated a blind claimant's Social Security benefits  after

            the  SSA had eliminated them under the offset provision.  See
                                                                      ___

            Dunkin v. Secretary of Health and Human Services, No. 1-C-85-
            ______    ______________________________________

            1801, slip op., 1987 WL 109706 (S.D. Ohio,  1987)(holding SSA

            erred in reducing claimant's benefits to zero after computing

            his  "average current earnings"  based only  on his  years of

            covered employment).4 
                                4

                 The district  court upheld the Commissioner.   The court

            rejected  claimant's  contention  that  the  offset provision

            should  not  apply to  blind  persons,  reasoning that  other

            provisions of the Social  Security Act and regulations showed

            that Congress and  the Commissioner clearly knew  how to make

            exceptions for the blind when they wished to do so.   Relying

            on  Smith  v.  Sullivan,  982  F.2d  308,  311-15  (8th  Cir.
                _____      ________

            1992)(holding that  SSA  correctly excluded  claimant's  non-

            covered federal  earnings from  calculation  of his  "average

            current  earnings"),  the  court  also  found  that  the  SSA

            properly  calculated  the  offset.    Claimant  appeals  this

            decision.

                                         II.

                                
            ____________________

               4 Claimant  also argued that  Congress did not  intend the
               4
            offset provision to  apply to her  because other sections  of
            the Social Security Act and regulations treat blind claimants
            more leniently than those with other disabilities. 


                                         -8-















                 The  discrete  question   before  us   is  whether   the

            claimant's "average current earnings",  as defined in   424a,

            were  properly based  only on  claimant's years  of "covered"

            employment or  whether, as  claimant  contends, they  instead

            should  have been  based on  her most  recent years  of "non-

            covered" employment.     Our  standard  of  review  is  well-

            established:

                      When   a   court   reviews  an   agency's
                      construction  of  the  statute  which  it
                      administers,  it  is confronted  with two
                      questions.      First,  always,   is  the
                      question  whether  Congress has  directly
                      spoken to the  precise question at issue.
                      If  the intent of Congress is clear, that
                      is the end of  the matter, for the court,
                      as well as the  agency, must give  effect
                      to the unambiguously expressed  intent of
                      Congress.      If,  however,   the  court
                      determines  Congress   has  not  directly
                      addressed the precise question  at issue,
                      the  court does not simply impose its own
                      construction of the  statute, as would be
                      necessary   in   the   absence    of   an
                      administrative interpretation.    Rather,
                      if  the statute  is  silent or  ambiguous
                      with  respect to the  specific issue, the
                      question  for  the court  is  whether the
                      agency's answer is based on a permissible
                      construction of the statute.


            Chevron U.S.A. v. Natural Resources Defense Council, 467 U.S.
            ______________    _________________________________

            837, 842-43 (1984). 

                 While claimant concedes that a literal interpretation of

               424a    compels   the  conclusion  that  "average  current

            earnings"  must be based on "covered  earnings," she urges us

            to reject  such  an  interpretation in  favor  of  one  which



                                         -9-















            comports  with  her view  of  Congressional intent.5    As we
                                                               5

            explain below,  we reject claimant's arguments,  for they are

            not supported by either the plain language of the statute nor

            a fair reading of its legislative history.  We begin with the

            language  of the statute. See  Stowell v. Secretary of Health
                                      ___  _______    ___________________

            and Human Services, 3 F.3d 539, 542 (1st Cir. 1993).
            __________________

            The Statute
            ___________

                 We  first observe  that nothing  on the  face of    424a

            indicates whether  claimant's "average current  earnings" may

            be based only on "covered" earnings.  The Commissioner argues

            that the plain  language of  42 U.S.C.     409(a) and  410(a)

            requires the  exclusion of claimant's  "non-covered" earnings

            from  the  computation  of  her  "average  current  earnings"

            because her federal earnings may  not be deemed "wages" under

            the Social Security Act.  We agree. 

                 The  definition  of  "average  current  earnings"  in   

            424a(a) depends on either the "average monthly  wage" used to

            compute  a  claimant's    Social  Security  benefits  or  the

            claimant's "wages and self-employment  income."6   The Social
                                                           6

                                
            ____________________

               5Claimant   also   contends   that    the   Commissioner's
               5
            interpretation  of  "average current  earnings"  violates due
            process and  equal protection because the  claimant in Dunkin
                                                                   ______
            was  allowed  to  keep  his Social  Security  benefits  while
            claimant's Social Security benefits have been eliminated.

               6As claimant was never self-employed, and does not contend
               6
            that her average current  earnings should have been  based on
            the average monthly wage used to compute her  Social Security
            benefits,  we confine our analysis to the meaning of the term
            "wages." 

                                         -10-















            Security Act  defines the term "wages"  as "remuneration paid

            ... after 1950 for  employment...." 42 U.S.C.   409(a).   The

            definition of the term  "employment" excludes service such as

            that performed by claimant for the federal government. See 42
                                                                   ___

            U.S.C.   410(a).7  It  follows, then, that because claimant's
                            7

            federal service does not qualify as "employment," her federal

            earnings may not  be deemed "wages" for purposes of computing

            her "average current  earnings" under  the offset  provision.

            Accord Smith  v. Sullivan,  982 F.2d  at  313-15; Prather  v.
            ______ _____     ________                         _______

            Shalala,  844 F. Supp. 239,  240-41 (D. Md.  1993), aff'd, 14
            _______                                             _____

            F.3d 595( 4th Cir. 1994); Clevinger v. Sullivan, 813 F. Supp.
                                      _________    ________

            421,  422  (E.D. Va.  1993);  cf.  Viney v. Gardner,   310 F.
                                          ___  _____    _______

            Supp.  76, 77-78 (E. D. Mich. 1970)(holding term "wages" in  

            424a is defined by   409(a)).

                 The  plain meaning  of  a statute's  text must  be given

            effect  "unless  it would  produce  an absurd  result  or one

                                
            ____________________

               742  U.S.C.     410(a)  excludes from  the  definition  of
               7
            "employment" any post-1950 "[s]ervice performed in the employ
            of the  United  States ...  if such  service -  (A) would  be
            excluded  from the  term  'employment' for  purposes of  this
            subchapter if the  provisions of  paragraphs (5)  and (6)  of
            this  subsection as in effect in January 1983 had remained in
            effect, and (B) is performed by  an individual who - ... (ii)
            is receiving an annuity from the Civil Service Retirement and
            Disability  Fund  ...."    Tremblay worked  for  the  federal
            government  after 1950  and receives a CSRS annuity. Her work
            would have been excluded  from the definition of "employment"
            if    5  and 6  of    410 as in  effect in  January 1983  had
            remained in  effect, for  the latter paragraph  excluded from
            the  definition of  employment federal  service covered  by a
            retirement system established by  federal law.  Consequently,
            claimant's federal  work is  excluded from the  definition of
            "employment."

                                         -11-















            manifestly  at  odds  with  the statute's  intended  effect."

            Parisi by Cooney v. Chater, 69 F.3d 614, 617 (1st Cir. 1995).
            ________________    ______

                 Relying on  excerpts from    424a's legislative history,

            claimant  contends  that   the  offset  resulting   from  the

            exclusion  of  her  non-covered  federal  earnings  from  the

            computation  of  her   "average  current  earnings"  violates

            Congress's intent to leave disabled workers with 80% of their

            pre-disability earnings.  She maintains that her CSRS pension

            equals  only 31.7% of the  monthly salary she  earned  before

            she  became blind  and  that Congress  expressly intended  to

            avoid  leaving disabled  workers with  such  a slim  amount. 

            Claiming that  "overwhelming" case law supports her position,

            claimant urges  us to reject a literal  interpretation of the

            statute in  favor of one  that furthers Congress's  intent to

            leave  disabled  workers  with  80% of  their  pre-disability

            earnings.8
                     8

                 While we recognize the ongoing debate over the propriety

            of  using  legislative  history  as  a  means  to  discern  a

            statute's  intent, see,  e.g.,  Strickland  v.  Commissioner,
                               ___   ____   __________      _____________

            Dept. of Human  Services, 48  F.3d 12, 17  (1st Cir.),  cert.
            ________________________                                _____


                                
            ____________________

               8Claimant contends that such  cases as Sciarotta v. Bowen,
               8                                      _________    _____
            837 F.2d  at 138; Swain v. Schweiker, 676 F.2d at 546-47; and
                              _____    _________
            Merz v. Secretary of Health and Human Services, 969 F.2d 201,
            ____    ______________________________________
            206 6th  Cir. 1992), support  her contention that  this court
            should  reject the literal meaning of the statute in favor of
            one which  furthers Congressional intent.   Neither these nor
            the remaining  cases that claimant cites  address the precise
            issue before us.  Therefore, they are not controlling.   

                                         -12-















            denied, 116  S. Ct. (1995)(collecting cases),  we will assume
            ______

            that  we "may  consult  relevant legislative  history ...  to

            confirm an  interpretation indicated by the  plain language [

            of a  statute]."  Grunbeck v. Dime  Savings Bank of New York,
                              ________    _______________________________

            FSB, 74 F.3d 331, 336 (1st  Cir. 1996). We conclude that  the
            ___

            legislative  history, while  occasionally  ambiguous, on  the

            whole  supports  the  Commissioner's  interpretation  of  the

            statute.

            Legislative History
            ___________________

                 Claimant is  correct that the  Senate Finance  Committee

            report  that  accompanied     424a,  as  originally  enacted,

            indicates   that  Congress intended  the offset  provision to

            leave  disabled workers  with 80%  of their  "average monthly

            earnings prior  to the  onset of  disability."   However, the

            latter phrase was qualified. The report states that:   

                      The new offset provision ... provides for
                      a  reduction  in   the  social   security
                      disability  benefit   (except  where  the
                      State workmen's compensation law provides
                      for an offset ...)  in the event that the
                      total   benefits   paid  under   the  two
                      programs   exceed   80  percent   of  the
                      worker's  average monthly  earnings prior
                      to the  onset of disability.   Under this
                      provision,  the worker's  average monthly
                      earnings would  be defined as  the higher
                      of  (a) his average monthly wage used for
                      purposes of computing his social security
                      disability  benefit  or  (b) his  average
                      monthly  earnings, in  employment covered
                                         in  employment covered
                      by  social security, during his highest 5
                      by  social security
                      consecutive  years  after  1950....  This
                      reduction  formula would  generally avoid
                      the   inequity   encountered  under   the
                      previous  offset   provision,  where  the


                                         -13-















                      reductions that  were required frequently
                      resulted  in  benefits  that replaced  no
                      more  than  30  percent  or  so   of  the
                      worker's earnings at disablement. 


            S. Rep. No. 404, 89th Cong., 1st Sess., 100 (1965), reprinted
                                                                _________

            in 1965 U.S. Code Congressional and Administrative News 1943,
            __

            2040.  (emphasis supplied).   The  emphasized language  shows

            that  Congress  intended  "average current  earnings"  to  be

            synonymous  with  "covered"  earnings.   This  assumption  is

            repeated  in other parts  of the Senate  Report.   See id. at
                                                               ___ __

            2041 (describing hypothetical application  of   424a in which

            worker's  "average monthly  wage"  is based  on his  "average

            covered earnings");  id. at 2200 (computing worker's "average
                                 ___

            current earnings" based on wages and income "credited to  his

            social  security  account").     Thus,  when the  legislative

            history excerpts that claimant cites are read in  context, it

            appears that Congress was speaking only of "covered" earnings

            when it expressed a desire to leave disabled workers with 80%

            of their pre-disability earnings and to avoid leaving workers

            with only 30% of such earnings.9
                                           9

                                
            ____________________

               9Subsequent legislative history that accompanied the early
               9
            amendments to    424a  also supports  the view that  Congress
            intended  "average  current earnings"  to  be  based only  on
            "covered"  earnings.  See, e.g., S. Rep. No. 744, 90th Cong.,
                                  ___  ____
            1st Sess.  (1967), reprinted in 1967  U.S.C.C.A.N. 2834, 2884
                               _________ __
            (noting that "average current earnings" under   424a equalled
            the  larger  of a  worker's  average  monthly wage  used  for
            computing his social security  benefit or his average monthly
            earnings during  the 5  consecutive years of  highest covered
                                                          highest covered
            earnings after 1950); H. Rep. No. 231, 92d Cong., 2d Sess. 57
            earnings
            (1972),  reprinted in  1972 U.S.C.C.A.N.  4989, 5044  (same).
                     _________ __

                                         -14-















                 In short, the plain language of the Social Security Act,

            42  U.S.C.     409, 410  and 424a,  directs the  exclusion of

            claimant's non-covered federal  earnings from the calculation

            of  her "average  current  earnings" and  the offset  applied

            here.  Apart from a  single excerpt referring to "non-covered

            wages,"  the  legislative history  of     424a confirms  this

            result.   Whatever doubts might be raised by this excerpt are

            put to rest  by more  recent developments.   We note that  in

            January 1989,  Senator  Moynihan offered an amendment to  the

            offset  provision that  would  have specifically  allowed the

            non-covered earnings  of  former  public  employees  such  as

            claimant  to be  considered in  calculating  "average current

            earnings."  See  S. 213, 101st Cong., 1st Sess. 1115  (1989).
                        ___

            That amendment was  not passed. See Prather  v. Sullivan, 844
                                            ___ _______     ________

            F. Supp. at 241 n. 1;  Clevinger v. Sullivan, 813 F. Supp. at
                                   _________    ________

                                
            ____________________

            The only contrary indication  that we have been able  to find
            appears in a Senate  Budget Committee Report that accompanied
            the Omnibus  Budget Reconciliation  Act of 1981.  Inter alia,
                                                              _____ ____
            that Act extended the offset provision so that it would apply
            to  individuals receiving  disability benefits  from federal,
            state, or local governments.  The Budget Committee report, in
            an  apparent  reference to  the "High  1" method,  says that,
            "average  current earnings  generally refers  to  the highest
            annual amount of covered  and non-covered wages earned during
                                          non-covered wages
            the  6-year period consisting of the year in which the worker
            becomes disabled and  the 5 preceding years...."  S. Rep. No.
            139, 97th  Cong.,  1st Sess.  428 (1981),  reprinted in  1981
                                                       _________ __
            U.S.C.C.A.N. 693,  694  (emphasis  supplied).    This  single
            statement  is  alone insufficient  to undermine  the previous
            expressions of  Congressional intent to base "average current
            earnings" only on "covered" earnings.  "Congress cannot amend
            a statute  merely  by  inserting  the proposed  change  in  a
            congressional report...." Strickland  v. Commissioner,  Dept.
                                      __________     ____________________
            Human Services, 48 F.3d at 18.      
            ______________

                                         -15-















            422 n. 2.  "To be sure, non-action by  Congress is ordinarily

            a dubious guide"  to legislative intent.  Brown  v. Secretary
                                                      _____     _________

            of  Health and  Human Services,  46 F.3d  102, 108  (1st Cir.
            ______________________________

            1995).   But thereafter, the SSA  promulgated Social Security

            Ruling  (SSR)   92-2a.    That  ruling   indicated  that  the

            Commissioner would  require "average current earnings"  to be

            based  only  on  "covered"  earnings.   Although  the  offset

            provision  has  been amended  in  other  respects since  this

            ruling was  published, Congress has done nothing to alter the

            Commissioner's interpretation of "average  current earnings."

            This strongly suggests that the Commissioner's interpretation

            comports  with   Congress's  intent.  Cf.  United  States  v.
                                                  ___  ______________

            Rutherford,  442 U.S.  544,  554  n. 10  (1979)(Congressional
            __________

            inaction after agency position has  been fully brought to the

            attention  of the  public  and Congress  suggests agency  has

            correctly discerned legislative intent).10
                                                    10

                                         III.

            Conclusion 
            __________



                                
            ____________________

               10As other  courts have  noted, there are  several reasons
               10
            why  the decision to base  "average current earnings" only on
            "covered  earnings"  is  reasonable.    See,e.g.,  Smith   v.
                                                    ___ ____   ________
            Sullivan,  982  F.2d at  344 (noting  that  it is  logical to
            ________
            exclude wages  on which  an  individual has  not paid  Social
            Security taxes from computation of benefit limit); Prather v.
                                                               _______
            Sullivan,  844  F.  Supp.  at 241  ("Congress's  decision  to
            ________
            exclude  non-covered wages from  the average current earnings
            calculation  ...  is  rationally   related  to  the  goal  of
            preserving scarce  resources  where the  individual  receives
            benefits from other sources."). 

                                         -16-















                 Where the plain language  and legislative history of the

            statute  indicate that  the Commissioner's  interpretation is

            consistent with Congress's intent,  this court may not devise

            a  contrary interpretation.      We  further discern  no  due

            process or  equal protection violation arising  from the fact

            that the plaintiff in Dunkin had his Social Security benefits
                                  ______

            reinstated  while claimant's  benefits have  been eliminated.

            Apart from the fact that  Dunkin lacks precedential value  as
                                      ______

            an  unpublished  decision,  it  was decided  before  the  SSA

            promulgated  SSR  92-2a.   "An  agency that  is  charged with

            administering  a  statute  remains  free  to  supplant  prior

            judicial  interpretations  of that  statute  as  long as  the

            agency interpretation is ...  reasonable ...."  United States
                                                            _____________

            v.  LaBonte,  70  F.3d  1396, 1405  (1st  Cir.  1995),  cert.
                _______                                             _____

            granted, 116  S. Ct. 2545  (1996).11   At bottom,  claimant's
                                              11
            _______

            arguments challenge the  Commissioner's policy judgment  that

            non-covered  earnings  must  be  excluded  under  the  offset

            provision. "When a challenge  to an agency construction of  a

            statutory provision, fairly conceptualized, really centers on

            the  wisdom of the agency's policy, rather than whether it is

            a reasonable choice within  a gap left open by  Congress, the

            challenge must  fail."  Chevron v.  Natural Resources Defense
                                    _______     _________________________

            Council, 467 U.S. at  866.  Accordingly, the judgment  of the
            _______

                                
            ____________________

               11Claimant's argument  that the district court  engaged in
               11
            misconduct by relying on the defendant's memorandum is wholly
            meritless.

                                         -17-















            district court is affirmed.
                              ________



















































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